     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 1 of 15




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA,                            }
                 Plaintiff-Respondent                }
                                                     }
v.                                                   }       CRIMINAL ACTION NO. H-91-176-1
                                                     }       CIVIL ACTION NO. H-04-2367
HENRY WILLIAM NUNEZ                                  }
                 Defendant-Petitioner                }

                                            OPINION & ORDER

                 Presently before the Court are (1) Petitioner Henry William Nunez’s (“Nunez’s”) (i)

Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. 396);1 (ii)

Motion Requesting Leave to Amend § 2255 Motion to Vacate, Set Aside or Correct Sentence (Doc.

399); (iii) Notice of Filing (Doc. 402); (iv) Motion for Leave to file Supplement to Amended § 2255

Motion to Vacate, Set Aside or Correct Sentence (Doc. 403) and Supplemental Amended § 2255

Motion to Vacate, Set Aside or Correct Sentence (Doc.404); and (v) Motion Requesting Leave to

Supplement § 2255 Motion to Vacate, Set Aside or Correct Sentence (Doc. 418) and Second

Supplement to Amended § 2255 Motion to Vacate, Set Aside or Correct Sentence (Doc. 419); (2)

the United States’ (i) Answer (Doc. 411); (ii) Motion for Summary Judgment (Doc. 412); and (iii)

Response to the Magistrate Court's July 24, 2006, Order (Doc. 432); (3) the Magistrate Judge’s

Memorandum and Recommendation (Doc. 433); and (4) Nunez’s Objections thereto (Doc. 435).2

The Court held an evidentiary hearing on September 13, 2007, to determine whether Nunez

instructed his lawyer to file an appeal and his counsel failed to do so. After careful consideration


        1
         Nunez's Motion to Vacate, Set Aside or Correct Sentence can be found at Document No. 1 in Civil Action
H-04-23 67 and at Document No. 396 in Criminal Action No. H-9 1-176. References hereafter will be to the Criminal
Document numbers unless otherwise indicated.
        2
          Nunez requested leave to file additional objections out of time should it become necessary to do so (Doc.
436). As no further objections have been filed, Nunez’s request is DENIED as MOOT.
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 2 of 15




of the entire record and the applicable legal standards, the Court concludes that Nunez’s motion to

vacate, set aside, or correct sentence should be DENIED and DISMISSED.

I.               Background3

                 In 1991, Nunez, among others, was charged with a three-count indictment alleging

(1) that all defendants conspired to possess with intent to distribute in excess 5 kilograms of

cocaine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846 (“Count 1");.(2) that all

defendants aided and abetted each other to possess with intent to distribute in excess of 5 kilograms

of cocaine, in violation of 21 U.S.C. §§ 841 (a)(1), (b)(1)(A) and 18 U.S.C. § 2. (“Count 2"); and

(3) that Nunez and his wife, Liliana, engaged in monetary transactions in property derived from

specified unlawful activity, in violation of 18 U.S.C. §§ 2, 1957(a)(b)(1) and 3571(b) (“Count 3").

Because Nunez and Liliana failed to appear for a hearing, the Court issued bench warrants for their

arrest. Nunez was not arrested until May 2002.

                 The Court appointed attorney Steve Baxley (“Baxley”) as counsel for Nunez. Nunez

requested different counsel, which the Court denied. Thereafter, Nunez entered into a written plea

agreement with the Government. Nunez agreed to plead guilty to Count 1 of the indictment. Nunez

also agreed to waive his right to appeal the conviction and sentence, except for upward departure,

and agreed to waive his right to collaterally attack his conviction. The Government’s agreed to drop

Counts 2 and 3 of the indictment and not to object to a finding by the Probation Department that

Nunez accepted responsibility pursuant to U.S.S.G. § 3E1.1(a). The Government also agreed not

to charge Nunez with failure to appear.

                 At Nunez’s Rearraignment hearing, the Court engaged in an extended colloquy to

        3
         The facts and procedural history of this case were detailed at length in the Magistrate Judge’s Memorandum
and Recommendation (Doc. 433). Familiarity with the Memorandum and Recommendation is assumed.

                                                       -2-
    Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 3 of 15




ensure that Nunez understood the charges against him, the maximum penalties, the rights he was

waiving, the factual basis of the plea, and the manner in which his sentence would be calculated.

He averred that he had read the plea agreement, discussed it with his attorney, and understood its

terms. Moreover, he assured the court that the plea agreement encompassed the entire agreement

between the parties and that he was pleading guilty because he was guilty:

               The Court: Do you understand all the other provisions of that written
               plea agreement?

               The Defendant: Yes, ma'am.

               The Court: All right. Does that written plea agreement contain all of
               the promises and assurances that have been made to you in an effort
               to [ ] persuade you to plead guilty in this case?

               The Defendant: Can I talk to my lawyer? (Conferring with counsel)
               Yes, ma'am.

               The Court: What I want to know is, are there any other oral
               agreements or any other kind of agreements that didn't get written
               down in that written plea agreement?

               The Defendant: No, ma'am.

               The Court: All right. Has anybody made any different promises to
               you that didn't get put into the written plea agreement?

               The Defendant: No, ma'am.

               The Court: Has anyone in any way attempted to force you to plead
               guilty in this case?

               The Defendant: No, ma'am.

               The Court: Are you pleading guilty because you are guilty?

               The Defendant: Yes, ma’am.

The Court explained the maximum penalties facing Nunez, which included a statutory maximum


                                               -3-
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 4 of 15




sentence of life imprisonment. The Court also explained how sentencing would proceed, and Nunez

assured the Court that he understood the Court’s role in determining his sentence. Finally, Nunez

expressly testified that he understood that he was waiving most, if not all, of his rights to appeal his

sentence:

                The Court: But that by entering into this plea agreement with the
                Government, do you understand that you will be waiving most, if not
                all, of the rights that you would have to appeal any sentence that I
                impose?

                The Defendant: I understand that.

                                                  ***

                The Court: All right. And that any rights you would have to appeal
                any sentence I impose would be governed by the terms of the written
                plea agreement. Do you understand that?

                The Defendant: Yes, ma'am.

                The Court: And that goes also for any collateral attacks, such as
                habeas corpus, that you might want to file to overturn any sentence
                I impose. Do you understand that?

                The Defendant: Yes, ma’am

Nunez executed the plea agreement, and the Court adjudicated him guilty.

                Nunez retained new counsel, George Parnham (“Parnham”) for sentencing. The

Court granted Nunez’s request to substitute Parnham for Baxley. The day before sentencing,

attorney Edwin Dee McWilliams (“McWilliams”), an associate for Parnham, filed a notice of

appearance on behalf of Nunez. The notice indicated that Nunez agreed to McWilliams’s

representation at sentencing.

                Nunez was sentenced on June 6, 2003. McWilliams had filed a number of objections

to the Pre-sentence Investigative Report (“PSR”), which the Court resolved. Of particular note was

                                                  -4-
       Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 5 of 15




Nunez’s claim that he and his family had been kidnaped and taken to Mexico shortly after the

indictment was issued in this case. After overruling Nunez’s objections to the PSR,4 the Court found

that

                 Mr. Nunez is considered to be a leader/organizer of an extensive
                 cocaine conspiracy in Houston, Texas, during the late 1980s and
                 early 1990s. He has been involved in the distribution of over 2,500
                 kilograms of cocaine and over $34 million of drug proceeds. Mr.
                 Nunez has been a fugitive from justice for the past ten years. He has
                 a previous conviction for attempted criminal trespass and reports
                 having no recent history of drug abuse.

                 The Guidelines call for a sentence of life term of imprisonment, and
                 the sentence would meet the sentencing objectives of deterrence,
                 incapacitation and punishment and appears to be an adequate
                 sanction.

(Doc. 395 at 30). Also, the Court imposed a special assessment of $100. Judgment was entered on

June 23, 2003. (Doc. 390).

                 Nunez did not file a direct appeal. He did timely file the present § 2255 Motion to

Vacate, Set Aside, or Correct Sentence (Doc. 396). In this § 2255 motion, Nunez alleges that he

entered his guilty plea involuntarily and unknowingly based on ineffective assistance of counsel.

According to Nunez, Baxley was ineffective because he did not want to prepare for trial and instead

pushed Nunez to accept a plea, even though Nunez maintained his innocence. Nunez alleges that

Baxley only met with him on 3 or 4 occasions, would not review the discovery with him, failed to

inform him of the nature of the charges, the maximum penalties and the applicable law. Instead,

Nunez contends that he was told by Baxley that "the government was willing to enter a 'special plea',

which would provide for a three level reduction for acceptance of responsibility, that the government



         4
          The Court was unpersuaded by Nunez’s kidnaping claim, at least as it related to reducing his culpability in
obstructing justice.

                                                        -5-
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 6 of 15




would not move to enhance his sentence or charge him with bond jumping." As to his allegations

of ineffective of assistance of counsel claims concerning Parnham and McWilliams, Nunez alleges

he told Parnham he wanted to withdraw his guilty plea. In addition, Nunez claims he was prejudiced

by McWilliams represented him at sentencing instead of Parnham. According to Nunez, he was not

notified about the change in counsel and was pressured to agree to the substitution. Nunez also

contends that the objections to the PSR were untimely filed. Lastly, Nunez alleges that he asked

McWilliams to file a notice of appeal, which was not done.

               Thereafter, Nunez filed his first motion for leave to amend his § 2255 motion (Doc.

399) to add the transcript of his Sentencing Hearing as an exhibit. Magistrate Judge Stacy approved

Nunez’s request and granted the first motion to amend.

               On July 7, 2004, Nunez filed a second motion for leave to amend his § 2255 motion

(Doc. 403) to argue that his sentence enhancement was unconstitutional in light of Blakely v.

Washington, 542 U.S. 296 (2004). On December 30, 2005, Nunez filed a third motion for leave to

amend his § 2255 motion (Doc. 418) to argue that his sentence enhancement was unconstitutional

in light of United States v. Booker, 543 U.S. 220 (2005).

               On September 25, 2006, Magistrate Judge Stacy issued her Memorandum and

Recommendation (Doc. 433) thoroughly addressing Nunez’s motions to amend and his claims for

ineffective assistance of counsel. The only issue left unresolved was the ineffective assistance of

counsel claim against McWilliams for allegedly failing to file a direct appeal, for which Judge Stacy

recommended the Court engage in an evidentiary hearing. On September 13, 2007, the Court held

a hearing to address the limited issue of whether Nunez consulted with McWilliams about Nunez’s

appellate rights.


                                                -6-
      Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 7 of 15




                 Having heard the evidence at the hearing, and after a careful review of the record and

the applicable law, the Court agrees with Judge Stacey’s analysis of these issues and adopts the

Memorandum and Recommendation in full.              Nunez’s objections to the Memorandum and

Recommendation are therefore DENIED. The Court writes separately to resolve the merits of

Nunez’s ineffective assistance of counsel claim based on the alleged failure of his counsel to file a

direct appeal.

II.              The Evidentiary Hearing

                 Nunez was represented at the hearing by his current counsel, Maria Elena Perez

(“Perez”). In addition to Nunez and McWillaims, Perez called as witnesses Shirley Ramirez

(“Shirley”), Nunez’s daughter, and Liliana Nunez (“Liliana”), his wife and former co-defendant.

All witnesses were cross-examined at length by the Government. The Government also called

McWilliams as a witness, who was cross-examined by Perez. The Court will briefly highlight the

relevant testimony.

                 (1)    Nunez’s Testimony

                 Most of Nunez’s initial testimony dealt with his relationship with Baxley and his

alleged confusion relating to the plea agreement. (See Tr. at 54-61) With respect to his appellate

rights, Nunez testified that Baxley never explained the advantages or disadvantages of filing an

appeal. (Id. at 62). Nunez also claimed that Baxley did not explain appellate waiver as it related

to his plea agreement. (Id.)

                 Nunez testified that neither McWilliams nor Parnham met with him prior to

sentencing to discuss his appellate rights or the advantages/disadvantages of filing a direct appeal.

(Id. at 64-65). He further testified that neither McWilliams nor Parnham discussed the possibility


                                                  -7-
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 8 of 15




of attacking the appellate waiver in his plea agreement. (Id. at 65). He testified that no attorney had

ever discussed the appellate waiver provision with him. (Id. at 77-79). During the course of the

Government’s cross-examination, however, Nunez admitted that he had, at some point, discussed

the waiver provision of his plea agreement with McWilliams. (Id. at 74).

               Nunez testified that, immediately after the Court imposed its sentence, he asked

McWilliams to file an appeal. (Id. at 65, 77). Nunez claimed that McWilliams said that he would

come and see him in three days at the jail; nevertheless, Nunez testified that “[n]obody ever went

to meet with me.” (Id. at 65). Additionally, Nunez testified that after his sentencing he continued

to request that his attorneys file an appeal. (Id. at 66). He also claimed to have sent letters to them

requesting an appeal. (Id.) Nunez testified that but for his counsels’ alleged failure to file a notice

of appeal, he would have filed an appeal. (Id.)

               (2)     McWilliams’s Testimony

               McWilliams, on direct examination by Perez, testified that he had been a licensed

criminal attorney since May 2000. (Id. at 4-5). He testified that he was an associate of Parnham’s

and that “when [Nunez] hired [Parnham], he hired me and all of our staff with us.” (Id. at 5).

According to McWilliams, he “had counseled with [Nunez] for a long time throughout the process”

and did not believe that Nunez was uncomfortable with his representing Nunez at the sentencing.

(Id. at 8). He testified that he had met with Nunez at least three times prior to the sentencing

hearing. (Id.). After the Court sentenced Nunez to life imprisonment, McWilliams testified that

both he and Nunez were shocked and upset, Nunez so much so that “[Nunez] was trying to contain

his emotion and really couldn’t talk.” (Id. at 9).

               McWilliams testified that he consulted with Nunez and his family about his appellate


                                                  -8-
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 9 of 15




rights at length before the sentencing. (Id. at 14). He also testified that he spoke with Nunez’s

family after the sentencing about the advantages and disadvantages of filing a direct appeal. (Id. at

14-15; 19-20). McWilliams unequviocally denied that either Nunez or his family had ever asked

him to file a direct appeal. (Id. at 14-16, 22, 26). McWilliams testified that he did not expect Nunez

to request him to file an appeal because of the conversations in which they discussed Nunez’s waiver

of his direct appellate rights. (Id. at 15-16). Moreover, he testified that he absolutely would have

filed a notice of appeal had Nunez requested him to do so, but reiterated that he did not expect such

a request based on prior conversations regarding the waiver provision in the plea agreement. (Id.

at 22).

               On direct examination by the Government, McWilliams testified again that Nunez

did not ask him to file a direct appeal. (Id. at 82).

               (3)     Shirley’s Testimony

               Shirley testified that she hired Parnham to represent her father at the sentencing

hearing. (Id. at 41). She testified that she did not recall meeting with McWilliams before the day

of Nunez’s sentencing. (Id.). She claimed that she never met with McWilliams or any other

attorney after her father’s sentencing. (Id. at 43). She stated that no attorney had discussed her

father’s appellate rights, but further explained that she “was under the impression that if [Nunez] got

sentenced . . . that that was it, that he didn’t have a right to appeal because he pleaded guilty or

something.” (Id. at 43). She claimed that her knowledge about appeals came from “research” and

“friends.” (Id. at 47). She testified that neither McWilliams nor Parnham had discussed appeals

with her or her mother. (Id. at 44). She claimed that Nunez had requested that his attorneys file a

notice of appeal. (Id.). She also testified that she made numerous phone calls to Parnham’s office


                                                  -9-
       Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 10 of 15




to request that they see Nunez and file an appeal but that these phone calls were never returned. (Id.

at 44-45). Finally, she claims that Nunez unequivocally expressed his desire to appeal his sentence.

(Id. at 45). She acknowledged that she did not send any letters to Parnham’s office regarding

Nunez’s request to file a notice of appeal. (Id. at 48).

               (4)     Liliana’s Testimony

               Liliana testified that she met McWilliams and/or Parnham once before Nunez’s

sentencing. (Id. at 50). She claimed that neither McWilliams nor Parnham discussed anything with

her regarding Nunez’s appellate rights. (Id. at 50-51). She testified further that she was sure Nunez

wanted to appeal his case after sentencing. (Id. at 52).

III.           Discussion

               The Supreme Court held in Strickland v. Washington, 466 U.S. 668 (1984), that

criminal defendants have a Sixth Amendment right to "reasonably effective" assistance of counsel.

Id. at 687. Under the two-prong Strickland test, a defendant claiming ineffective assistance of

counsel must show (1) that counsel’s representation “fell below an objective standard of

reasonableness,” id. at 688, and (2) that counsel’s deficient performance prejudiced the defendant,

id. at 694. The Strickland standard applies to claims, like Nunez’s, that counsel was constitutionally

ineffective for failing to file a notice of appeal. Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000).

               Here, Nunez claims that he instructed McWillaims to file an appeal and McWilliams

disregarded his request. Counsel “who disregards specific instructions from the defendant to file

a notice of appeal acts in a manner that is professionally unreasonable.” Id. The law is clear that

"[a] failure to file a requested notice of appeal is ineffective assistance of counsel even without a

showing that the appeal would have merit." Id.; see also United States v. Tapp, 491 F.3d 263, 266


                                                - 10 -
    Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 11 of 15




(5th Cir. 2007) ("[I]f the petitioner is able to demonstrate by a preponderance of the evidence that

he requested an appeal, prejudice will be presumed and the petitioner will be entitled to file an

out-of-time appeal, regardless of whether he is able to identify any arguably meritorious grounds

for appeal."). The Fifth Circuit has expressly held that “the rule of Flores-Ortega applies even

where a defendant has waived his right to direct appeal and collateral review.” Tapp, 491 F.3d at

266. To establish prejudice, a defendant such as Nunez must demonstrate only that there is a

reasonable probability that but for counsel's alleged failure, he would have appealed. Flores-Ortega,

528 U.S. at 486.

               The factual dispute at issue is whether Nunez actually instructed McWilliams to file

an appeal. The Court had the opportunity to view the demeanor and testimony of all the witnesses

and weigh the credibility of Nunez, on the one hand, and McWilliams on the other. It is Nunez’s

burden to persuade the Court that he more likely than not requested that McWilliams appeal. See

United States v. Chavez, 193 F.3d 375, 378 (5th Cir. 1999) (a section 2255 petitioner has the burden

of proof to show that his counsel was ineffective). The Court finds that Nunez has failed to meet

his burden.

               The Court simply does not find Nunez’s evidence to be credible. First, Nunez has

strong motivation here to fabricate his story. In order to succeed to merit relief on this issue under

section 2255, Nunez knows that he must establish having asked McWilliams to file an appeal on his

behalf.

               Second, the Court finds it incredible that Nunez asked McWilliams to file an appeal

during his strong emotional reaction to sentencing. All the testimony agreed that Nunez was

“shocked” and “upset” at the imposition of his sentence. Nevertheless, Nunez asks the Court to


                                                - 11 -
    Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 12 of 15




believe that in the midst of his shocked state, he had the presence of mind to turn to McWilliams and

instruct him to file an appeal. The Court finds such timing to be suspect.

               Third, there are serious inconsistencies within Nunez’s testimony that reveal he is

being less than straightforward with the Court. For example, he claimed that no attorney had ever

discussed the appellate waiver provision to him, which is clearly contradicted by his testimony that

he had, at some point, discussed the waiver provision of his plea agreement with McWilliams. This

tendency for being inconsistent is underscored by Nunez’s claim at the hearing to have not

understood his plea agreement, when, at the sentencing hearing, Nunez solemnly swore that he

understood the terms and conditions of his plea agreement.

               Finally, the Court finds that Shirley’s and Liliana’s testimony lacks credibility as

well. Both are strongly motivated to fabricate a requested appeal in an effort to help their family

member. The Court found their testimony to be vague and, at places, contradictory. Shirley testified

that no attorney spoke with her about the waiver provision or her father’s appellate rights, but she

clearly understood that the plea agreement contemplated a waiver of a direct appeal. She said as

much when she testified “that he didn’t have a right to appeal because he pleaded guilty or

something.” (Tr. at 43).

               The Court finds McWilliams’s testimony to be more credible. McWilliams does not

have a direct stake here and has no reason to misstate the contents of his dealings with Nunez. At

every turn, McWilliams denied having received a request from Nunez to file an appeal. Moreover,

his testimony did not exhibit the same inconsistencies as that of Nunez’s. He clarified issues and

impressed the Court as being honest about his dealings with Nunez and his family. McWilliams

advocated strongly on Nunez’s behalf at the sentencing, and the Court believes that if Nunez had


                                                - 12 -
    Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 13 of 15




ever asked him to file a direct appeal, McWilliams would have done so.

               For these reasons, the Court discounts the testimony of Nunez, Shirley, and Liliana

and credits the testimony of McWilliams. The Court finds that McWilliams’s failure to file an

appeal was not deficient because Nunez never instructed him to do so.

               Nevertheless, the Court must also consider whether Nunez “consulted” with

McWilliams about an appeal. The Supreme Court explained in Flores-Ortega:

               In those cases where the defendant neither instructs counsel to file an
               appeal nor asks that an appeal not be taken, we believe the question
               of whether counsel has performed deficiently by not filing a notice of
               appeal is best answered by first asking a separate, but antecedent,
               question: whether counsel in fact consulted with the defendant about
               an appeal . . . If counsel has consulted with the defendant, the
               question of deficient performance is easily answered: Counsel
               performs in a professionally unreasonable manner only by failing to
               follow the defendant's express instructions with respect to an appeal
               . . . If counsel has not consulted with the defendant, the court must in
               turn ask a second, and subsidiary, question: whether counsel's failure
               to consult with the defendant itself constitutes deficient performance.

See Flores-Ortega, 528 U.S. at 478. “Consult” is this context means that counsel advised the

defendant about the advantages and disadvantages of an appeal and made a reasonable effort to

discover the defendant’s wishes. Id. Failure of counsel to consult his client about appellate rights

does not, however, automatically result in ineffective assistance of counsel. Rather, the Supreme

Court adopted the following test to determine whether counsel has a constitutionally-imposed duty

to consult with a defendant about a potential appeal: whether there is a reason for counsel to think

either (1) “that a rational defendant would want to appeal (for example, because there are

nonfrivolous grounds for appeal)” or (2) “that this particular defendant reasonably demonstrated to

counsel that he was interested in appealing.” Id. at 480. A court should look at the totality of the

circumstances regarding the information counsel knew or should have known. Id. The Supreme

                                                - 13 -
     Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 14 of 15




Court further noted that, “[a]lthough not determinative, a highly relevant factor in this inquiry will

be whether the conviction follows a trial or a guilty plea, both because a guilty plea reduces the

scope of potentially appealable issues and because such a plea may indicate that the defendant seeks

an end to judicial proceedings.” Id. Even if counsel violates his duty to consult, a defendant must

still demonstrate prejudice, i.e., “had the defendant received reasonable advice from counsel about

the appeal, he would have instructed his counsel to file an appeal.” Id. at 486.

               For the same credibility determinations made above, the Court finds that McWillaims

did “consult” with Nunez. Additionally, Nunez admitted that he discussed the appellate waiver

provision with McWilliams prior to sentencing. (Tr. at 74). The more reasonable conclusion in this

case is that Nunez understood that he had waived his direct appellate rights per the plea agreement

and chose not to request that his counsel file an appeal.

1.             Conclusion

               Accordingly and for the aforementioned reasons, it is hereby

               ORDERED that Petitioner's Motion Requesting Leave to Amend § 2255 Motion to

Vacate, Set Aside or Correct Sentence (Doc. 399) is GRANTED, Petitioner’s Motion Requesting

Leave to Supplement § 2255 Motion to Vacate, Set Aside or Correct Sentence (Doc. 403) and

Petitioner’s Motion Requesting Leave to Supplement § 2255 Motion to Vacate, Set Aside or Correct

Sentence (Doc. 418) are both DENIED; it is further ORDERED that the Government's Motion for

Summary Judgment (Doc. 412) is GRANTED.                  The Court adopts the Magistrate Judge's

Memorandum and Recommendation in full

               SIGNED at Houston, Texas, this 28th day of September, 2007.




                                                - 14 -
Case 4:91-cr-00176 Document 449 Filed on 09/28/07 in TXSD Page 15 of 15




                                ______________________________________
                                         MELINDA HARMON
                                  UNITED STATES DISTRICT JUDGE




                                 - 15 -
